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AO 91 (Rev. 11/11) Criminal Complaint

            LODGED
    CLERK, U.S. DISTRICT COURT               UNITED STATES DISTRICT COURT
                                                                         for the

  CENTRAL DISTRICT OF CALIFORNIA
                                                             Central District
                                                           __________         of of
                                                                       District  California
                                                                                    __________                          05/06/2025
   BY: ____________ ______ DEPUTY


                      United States of America                              )                                                    RAM

                                 v.                                         )
                    JESUS AGUILAR GARCIA,
                                                                            )       Case No.
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                    Defendant(s)


                                                           CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                             August 4, 2020              in the county of              Riverside             in the
       Central               District of               California       , the defendant(s) violated:

                Code Section                                                          Offense Description
8 U.S.C. §§ 1326(a), (b)(2)                                                           Illegal Alien Found in the United States
                                                                                      Following Deportation




            This criminal complaint is based on these facts:
Please see attached affidavit.




                 Continued on the attached sheet.

                                                                                                 /s/ Griselda Cazales

                                                                                                       Complainants signature

                                                                                        DHS-ICE Deportation Officer, Griselda Cazales
                                                                                                        Printed name and title

Sworn to before me and signed in my presence.


Date:                 05/06/2025
                                                                                                          Judges signature

City and state:                                    Riverside, CA                        Honorable David T. Bristow, Magistrate Judge
                                                                                                        Printed name and title

John A. Balla
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                                 AFFIDAVIT

     I, Griselda Cazales, being duly sworn, declare and state as

follows:

                          I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against Jesus Aguilar Garcia

(“defendant”), charging him with violating Title 8, United

States Code, Sections 1326(a), (b)(2), Illegal Alien Found in

the United States Following Deportation.

     2.      The facts set forth in this affidavit are based on my

personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show that there is

sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all my knowledge of or

investigation into this matter.          Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

      II. BACKGROUND OF DEPORTATION OFFICER GRISELDA CAZALES

     3.      I am a Deportation Officer (“DO”) with the United

States Department of Homeland Security (“DHS”), Immigration and

Customs Enforcement (“ICE”).       I have been a DO with ICE,

formerly known as the Immigration and Naturalization Service

(“INS”), since September 2018.          I am currently assigned to the

Los Angeles Enforcement and Removal Operations field office.

Before I became an ICE DO, I was employed by the Federal Bureau

of Prisons since April 2016.       I have experience reviewing
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immigration files, deportation and removal proceedings, and

executed final orders of removal, among other immigration

related documents, process, and proceedings.

                  III. STATEMENT OF PROBABLE CAUSE

     4.    On or about August 4, 2020, the ICE Pacific

Enforcement Response Center (“PERC”) received an electronic

notification based on biometric fingerprint information that

defendant was in the custody of Riverside County Sheriff’s

Department (“RSD”).       On or about that day, the PERC lodged a DHS

Immigration Detainer with the RSD.             Defendant is not currently

in custody with RSD.

     5.    Based on my training and experience, I know that a DHS

“A-File” is a file in which immigration records are maintained

for aliens admitted to or found in the United States.                  I also

know that a DHS A-File usually contains photographs,

fingerprints, court records of conviction, and records relating

to deportation or other actions by INS or DHS with respect to

the subject alien for whom the DHS A-File is maintained.

        6. On or about April 29, 2025, I obtained and reviewed

  DHS A-File A 095 735 037 (the “DHS A-File”), which is

  maintained for the subject alien “Jesus Aguilar Garcia.”                   The

  DHS A-File contained the following documents and information:

           a.    Fingerprint Identification number (“FIN”).                 Based

on my training and experience, I know that when an individual is

fingerprinted by ICE (or its predecessor agency, the INS), the

individual is issued a FIN.       The FIN is then automatically

associated with the individual’s A-File Number.                 In this case,


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the defendant fingerprints were assigned the FIN 1078210002,

which was then linked to A-Number 095 735 037.                 On or about

April 28, 2025, I reviewed the Immigration Alien Query (“IAQ”)

electronic notification associated with defendant’s August 3,

2020, arrest, and verified that the FIN associated with the IAQ

was FIN 1078210002.       I thus confirmed that the individual

arrested on August 4, 2020, was defendant.

           b.    One executed Warrant of Removal/Deportation Form

I-205 indicating that defendant was officially removed from the

United States on or about October 31, 2016.                  I know from my

training and experience that a Warrant of Removal is executed

each time a subject alien is removed and excluded from the

United States by ICE or INS and usually contains the subject’s

photograph, signature, and fingerprint.              The executed Warrant of

Removal/Deportation in defendant’s DHS A-File contained his

photograph, signature, and fingerprint.

           c.    One executed Warrant of Removal/Deportation Form

I-205 indicating that defendant was officially removed from the

United States on or about June 30, 2011.               This executed Warrant

of Removal/Deportation in defendant’s DHS A-File contained his

photograph, signature, and fingerprint.

           d.    One executed Warrant of Removal/Deportation Form

I-205 indicating that defendant was officially removed from the

United States on or about September 4, 2008.                 This executed

Warrant of Removal/Deportation Form I-205 in defendant’s DHS A-

File contained his photograph, signature, and fingerprint.




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             e.   Various documents, in addition to the Warrant of

Removal/Deportation and Notice to Alien Ordered

Removed/Departure Verification, indicating that defendant is a

native and citizen of Mexico.      These documents included an

Immigration Order, dated August 25, 2008, ordering defendant

removed to Mexico.

             f.   I obtained and reviewed a printout of the data

from the California Criminal Identification Information “CII”

and the Federal Bureau of Investigation “FBI” Identification

Record for defendant, the individual who is the subject of this

affidavit.    I compared the data on the CII and FBI to that found

in the DHS Central Index System “CIS” under the assigned A-File,

which I believe is defendant’s alien number.                I found that the

data from CII, FBI, and CIS records contained in defendant’s A-

File contain the same Federal Bureau of Investigation

identification number that is found in the CII, FBI, and CIS

records that I obtained.      In addition, the CII and FBI

printouts, or court documents from arrests listed in those

printouts, reflect the convictions that are described

below.   Based on this review, I believe that defendant is the

same person who incurred the convictions described below and who

was ordered deported and/or removed as described in the A-File.

                  i.   A conviction record showing that defendant

was convicted on or about January 30, 2023, for Unlawful

Intercourse by a Person Over 21 with a Person Under 16, in

violation of California Penal Code § 261.5(d), in the Superior

Court of California, County of Riverside, case number


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RIF2104672, for which defendant was sentenced to 24 months’

probation.

                  ii.   A conviction record showing that defendant

was convicted on or about May 4, 2021, for Felon in Possession

of a Firearm, in violation of California Penal Code § 29800, in

the Superior Court of California, County of Riverside, case

number BAF2001010, for which defendant was sentenced to 16

months’ prison.

                  iii. A conviction record showing that defendant

was convicted on or about March 18, 2013, for Illegal Alien

Found in the United States Following Deportation, in violation

of 8 U.S.C. § 1326(a), (b)(2), in the United States District

Court for the Central District of California, case number CR 13-

82-GW, for which defendant was sentenced to 30 months’

imprisonment.

                  iv.   A conviction record showing that defendant

was convicted on or about November 18, 2010, for Carrying a

Concealed Weapon, Criminal Street Gang Allegation, in violation

of California Penal Code § 12025(b)(3), in the Superior Court of

California, County of Riverside, case number RIF10004743, for

which defendant was sentenced to 16 months’ prison.

                  v.    A conviction record showing that defendant

was convicted on or about November 18, 2010, of Possession of a

Controlled Substance for Sale, in violation of California Health

& Safety Code § 11378, in the Superior Court of California,

County of Riverside, case number RIF10004743, for which

defendant was sentenced to 16 months’ prison.


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        7. On or about April 28, 2025, I reviewed the printouts

  of ICE computer indices on defendant.             Based on my training and

  experience, I know that the ICE computer indices track and

  document each time an alien is deported or excluded from the

  United States by ICE, was deported or excluded by the former

  INS, or is granted permission to enter or re-enter the United

  States.   The ICE computer indices confirmed that defendant had

  been removed, deported, and/or excluded on the dates indicated

  on the Warrant of Removal/Deportations, found in defendant’s

  DHS A-File.    The ICE computer indices further indicated that

  defendant had not applied for, or obtained from the Attorney

  General or the Secretary of Homeland Security, permission to

  re-enter the United States.

        8. Based on my review of defendant’s DHS A-File, I

  determined that it does not contain any record of defendant

  ever applying for, or receiving from the Attorney General or

  the Secretary of Homeland Security, permission to re-enter the

  United States.    Based on my training and experience, I know

  that such documentation is required to re-enter the United

  States legally after deportation, and that if such

  documentation existed, it would ordinarily be found in

  defendant’s DHS A-File.

                             IV. CONCLUSION

        9. For all the reasons described above, there is probable

  cause to believe that defendant has committed a

violation of Title 8, United States Code, Sections 1326(a),




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(b)(2), Illegal Alien Found in the United States Following

Deportation.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 5th day of May,
2025.



HON. DAVID T. BRISTOW
UNITED STATES MAGISTRATE JUDGE




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